
129 Ohio St.3d 1461 (2011)
2011-Ohio-4346
952 N.E.2d 500
State
v.
Slagle.
No. 1990-1815.
Supreme Court of Ohio.
August 30, 2011.
MOTION AND PROCEDURAL RULING.
By entry filed February 8, 2011, this court ordered that Billy Slagle's sentence be carried into execution on Tuesday, the September 20, 2011.
In order to facilitate this court's timely consideration of any matters relating to the execution of Billy Slagle's sentence, it is ordered by the court that the Chief Justice may suspend application of any provisions of the Rules of Practice of the Supreme Court, including, but not limited to, the filing requirements imposed by S.Ct.Prac.R. 14.1.
It is further ordered that service of documents as required by S.Ct.Prac.R. 14.2, shall be personal, by facsimile transmission, or by email.
It is further ordered that counsel of record for the parties shall provide this court with a copy of any document relating to this matter that is filed in, or issued by, any other court in this state or any federal court, as well as any commutation, pardon, or warrant of reprieve issued by the Governor. A copy of the document shall be delivered to the Office of the Clerk as soon as possible, either personally, by facsimile transmission, or by email.
